                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

 AARON BOOTH,                                      §
     Plaintiff,                                    §
                                                   §
 v.                                                §          Civil Action No. 3:18-cv-104
                                                   §
 GALVESTON COUNTY, et al.,                         §
     Defendants.                                   §


                             NOTICE OF APPEAL
                  TO THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT


        Notice is hereby given that the Defendants, Hon. Kerry Neves, Hon. Lonnie

Cox, Hon. John Ellisor, Hon. Patricia Grady, Hon. Anne B. Darring, and Hon. Jared

Robinson, appeal to the United States Court of Appeals for the Fifth Circuit from the

Order Adopting Magistrate Judge’s Memorandum and Recommendation &

Preliminary Injunction, entered on the docket of this case on September 11, 2019

(Dkt. 279).




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                                            Respectfully submitted.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 17, 2019, a true and correct copy of the
foregoing document has been electronically filed with the Clerk of the Court using
the electronic case filing system with the Court which automatically provided notice
to all attorneys of record.


                                                /s/ Adam Arthur Biggs
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